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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

Configair, LLC,
Plaintiff,

v, Civil No. 3:17cv2026 (JBA)

Henry Kurz,
Defendant.

 

NOTICE TO DEFENDANT HENRY KURZ AND HENRY KURZ CONSULTING GmbH
(HKC)

By Motion dated May 09, 2019, which was mailed to you via Federal Express, Attorney
Rutherford and Attorney Ferdinand have moved to withdraw their appearances on your behalves
on grounds that you have substantially failed to fulfill your obligations to counsel thereby causing
unreasonable financial burden of any continued representation, that there has been an
irreparable breakdown in the attorney client relationship, and that you have been de facto
discharged as counsel. You have opposed this motion until you have found new counsel [Doc.
#99]. The Court will defer action on the Motion to Withdraw Appearance until June 10, 2019.

Pursuant to D. Conn. L. Civ. R 7(e) motions to withdraw and attorney appearance
“normally shall not be granted except upon a showing that other counsel has appeared or that the
party has elected to proceed pro se.” However, where good cause exists for permitting the
withdrawal by the appearing counsel, the Court may grant the motion after notice that if you fail
to engage substitute counsel or file a pro se appearance by June 10, 2019 the Motion for

Withdrawal of Appearance may be granted, and a dismissal or default may be entered against
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you.

IT IS SO ORDERED.

/s/
Janet Bond Arterton, U.S.D.J.

 

Dated at New Haven, Connecticut this 29" day of May 2019.
